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                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA


                                         CRIMINAL MINUTES

 Date: February 27, 2024            Time: 9:59 – 11:26             Judge: MAXINE M. CHESNEY
                                            11:45 – 12:34
                                            = 2 hours 14 minutes


 Case No.: 18-cr-00465-MMC- Case Name: UNITED STATES v. Fujian Jinhua Integrated Circuit, Co.
 2

Attorney for Plaintiff: Laura Vartain, Nicholas Walsh, Nicholas Hunter, Stephen Marzen
Attorney for Defendant: Jack DiCanio, Emily Reitmeier, Matthew Sloan

  Deputy Clerk: Tracy Geiger                          Court Reporter: Ruth Levine Ekhaus



                                             PROCEEDINGS

Hearing to Deliver Judgment in bench trial:

Court states its specific findings of fact.
Judgment: For the reasons stated on the record, the Court finds defendant not guilty as to Counts One,
Two and Seven.




All admitted trial exhibits returned to counsel.
